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                                                               COURT OF COMMON PLEAS
                                                               Friday, August 16, 2019 3:22:31 PM
                                                               CASE NUMBER: 2019 CV 03784 Docket ID: 33727722
                                                               MIKE FOLEY
                                                               CLERK OF COURTS MONTGOMERY COUNTY OHIO


      IN THE COMMON PLEAS COURT OF MONTGOMERY COUNTY, OHIO CIVIL
                               DIVISION



HOLLY S. GIBSON                               *       CASE NO. _ _ _ _ __
2230 S. Patterson Blvd.
Dayton, OH 45409                              *       JUDGE - - - - - - - -

        Plaintiff,                            *
vs.                                          *
OFFICER TOM CONLEY                           *        PLAINTIFF'S COMPLAINT FOR
In his Individual Capacity                            DEPRIVATION OF CIVIL RIGHTS
and as an Officer of the                     *
City of Kettering, OH                                 DEMAND FOR JURY TRIAL
3600 Shroyer Rd.
Kettering, OH 45429                          *
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CITY OF KETTERING, OHIO                                                              <     Ci?      0
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Kettering, OH 45429                          *                                       ~
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        Defendants.                                                                  rn             zr::>
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        Plaintiff, Holly S. Gibson, by and through her attorney, alleges the following as her

Complaint:


                                JURISDICTION AND VENUE

        1.      This Honorable Court has jurisdiction over all claims presented herein pursuant

to 42 U.S.C. § 1983 and the concurrent jurisdiction of Ohio Courts and and R.C. 2305.01.

        2.     Venue is appropriate under Civ.R. 3(C) (1)-(4), and (6).




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                                              PARTIES

            3.   Plaintiff Holly S. Gibson ("Gibson") is and was at all times relevant, a resident of

 the City of Dayton, Montgomery County, Ohio.

           4.    Patrol Officer Tom Conley ("Conley") is and was, at all times relevant, a police

officer employed by the City of Kettering, Ohio Police Department.

           5.    Defendant City of Kettering is and was at all times pertinent, a municipal

corporation organized under the laws of the State of Ohio, located in Montgomery County, Ohio.

                                               FACTS

           6.    Plaintiff incorporates all foregoing paragraphs of this Complaint by reference as if

fully rewritten herein.

           7.    On August 16, 2017, Plaintiff Holly Gibson drove to the Buckin' Donkey

resta4rant and bar, located at 2866 South Dixie Drive, in Kettering, to meet a friend. When the

friend did not arrive, Ms. Gibson returned to her car to phone her friend and find out where they

would meet.

           8.    At the time, Ms. Gibson, who was sixty-eighty (68) years old, suffered from an

arthritic knee condition which generally required her to use a cane to assist with walking. Ms.

Gibson did not bring the cane with her into the bar, which caused her to stumble while leaving

the bar.

           9.    Evidently, Ms. Gibson's medical condition drew the attention of personnel at the

restaurant who believed she was not fit to drive, although this was untrue, who reported her to

the Kettering Police. As she sat in her car, restaurant employees reported that she was passed out

from alcohol. Ms. Gibson was not and was not impaired.




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         10.     As Ms. Gibson sat in her car, she was confronted by Kettering Police, at

 approximately 4:30 p.m., who instructed her to exit her car.

         11.     Only two days prior to the events underlying this case, Ms. Gibson had a pedicure

which involved the removal of callouses from the soles of her feet, making them particularly

sensitive.

         12.     The temperature on that day was approximately ninety degrees Fahrenheit (90°),

with Ms. Gibson parked in full sun on an asphalt parking lot, which resulted in the asphalt

parking lot being approximately one-hundred and forty-five degrees (145°) Fahrenheit.

        13.       Ms. Gibson had removed her shoes while she waited in her car, a 1998 Mercedes

SLK230.

        14.      Officer Conley, who had arrived at the scene, ordered Ms. Gibson to exit her car.

        15.      Ms. Gibson did not understand why she was being detained, and asked to be able

to put on her shoes. Officer Conley refused to allow Ms. Gibson to put on her shoes and forcibly

removed her from the car before she could put her shoes on.

        16.      Officer Conley then forced Ms. Gibson to stand, and later to walk across, the hot

parking lot in her bare feet, as the hot asphalt burned the soles of her feet, despite Ms. Gibson's

cries of pain.

        17.      Officer Conley forcing an elderly woman to stand and walk on a blistering ho!

asphalt constituted an unreasonable use of force and was cruel and wanton infliction of

punichment.

        18.      Officer Conley arrested Ms. Gibson and took her to the Kettering Police Station,

from where she was eventually taken to the Montgomery County Jail.




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         19.    During her entire stay at the Montgomery County Jail, Gibson continued to

complain of severe physical pain but received no medical treatment until she was released.

during his entire incarceration, after which she sought emergency treatment.

        20.     Ultimately, Gibson was charged with failure to disclose personal information

under R.C. 2921.29; resisting arrest under R.C. 2921.33 and Physical Control under the

Influence under R.C. 4511.194.

        21.     Ms. Gibson pleaded no contest to her charge under R.C. 292!.33(A) and to

Reckless Operation under 4511.20 I.

                                      CAUSES OF ACTION

                                     BRANCH ONE
  (Unnecessary, Excessive Use of Force/Cruel and Unusual Punishment, Violation of Civil
                              Rights under 42 U.S.C. §1983)
                           (Asserted against Defendant Conley)

        22.     Plaintiff incorporates the allegations in the previous paragraphs of this Complaint

as if fully rewritten herein.

        23.     Defendant Conley used excessive force against Plaintiff in detaining and arresting

her.

        24.     Defendant Conley, without privilege or cause to do so, unlawfully forced Ms.

Gibson to stand and walk across the hot asphalt in her bare feet, causing her severe pain, and

bums to the soles of her feet.

       25.      The actions of Defendant Conley constituted an excessive use of force, an

unreasonable seizure, and deprived Plaintiff of her right to be free from an unlawful seizure, and

her right to be free from cruel and unusual punishment, as guaranteed by the Federal Constitution

and Federal law.




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        26.      Plaintiff is entitled to compensatory and punitive damages for Defendants'

 violations of his rights as guaranteed by the United States Constitution and Federal Law,

 pursuant to 42 U.S.C. §1983.

                                       BRANCH TWO
   (Deficient Policy of Hiring, Employment and Supervision of Officers, Violation of Civil
                                Rights under 42 U.S.C. §1983)
                        (Asserted against Defendant City of Kettering)

        27.     Plaintiff incorporates the allegations in the previous paragraphs of this Complaint

as if fully rewritten herein.

        28.     Defendants the City of Kettering engaged in a custom or policy of hiring

unqualified officers who exhibited deliberate indifference to the constitutional rights of

individuals like Plaintiff.

        29.     Defendants the City of Kettering, furthermore, engaged in a custom or policy of

employing and supervising police officers that exhibited deliberate indifference to the

constitutional rights of individuals like Plaintiff.

        30.     Defendants the City of Kettering, furthermore, engaged in a custom or policy with

respect to the use of force by police officers that exhibited deliberate indifference to the

constitutional rights of individuals like Plaintiff.

        31.     The City of Kettering repeatedly refused to investigate allegations of use of

excessive force by City of Kettering police officers, and refused to discipline officers who used

excessive force, creating an unofficial policy of tolerance to the use of excessive force by City of

Ketteing police officers. This unofficial policy of tolerance encouraged City of Kettering police

officers to use excessive force, since they would not be disciplined for doing so.

       32.     Defendants Conley's unconstitutional use of force against Plaintiff Holly Gibson,

which resulted in injury to Ms. Gibson, was a direct and proximate result of the deliberate


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 indifference of the Defendants the City of Kettering with respect to the hiring, supervision, and

 discipline of officers like Defendant Conley.

         33.     Plaintiff is entitled to compensatory and punitive damages for Defendants'

violations of his rights as guaranteed by the United States Constitution and Federal Law,

pursuant to 42 U.S.C. §1983.

                              CLAIM FOR PUNITIVE DAMAGES

        34.     Plaintiff incorporates all foregoing paragraphs of this Complaint as if fully

rewritten herein.

        35.     The conduct of the Defendants as pleaded herein was undertaken with evil intent,

maliciously, intentionally, willfully, wantonly, recklessly, or with a substantial disregard for

Plaintiffs right and was substantially certain to result in harm to Plaintiff.

        36.     Plaintiff is thus entitled to an award of punitive damages for defendants' wrongful

conduct as pleaded herein.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff demands judgement against the Defendant, jointly and severally

as follows:

        A)      Compensatory damages in an amount greater than Twenty-Five Thousand Dollars

($25,000.00);

        B)      Punitive damages in an amount greater than Twenty-Five Thousand Dollars

($25,000.00); and

        C)      Their costs of this action to include reasonable attorney fees, prejudgment

interest, post-judgment interest, and such other and further relief to which Plaintiff may be

entitled at law or equity.



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                                           Respectfully submitted,


                                           Isl Kevin A. Bowman
                                           Kevin A. Bowman (0068223)
                                           BRANNON & ASSOCIATES
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                                           Dayton, OH 45402
                                           Telephone:     (937) 228-2306
                                           Facsimile:     (937) 228-8475
                                           E-Mail:        dbrannonlalbranlaw.com
                                           Attorney for the Plaintiff

                                       JURY DEMAND

    Plaintiff respectfully demands a trial by jury on all issues presented herein.


                                          Isl Kevin A. Bowman
                                          Kevin A. Bowman




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